                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
      v.                                 )       NO. 3:15-00066-005
                                         )       Judge Sharp
RICKY THOMPSON                           )

                                         ORDER

      Defendant’s Motion to Strike (Docket No. 198) is GRANTED and, accordingly, Defendant’s

Motion for Bill of Particulars (Docket No. 191) is DENIED AS MOOT.

      It is SO ORDERED.



                                                 ____________________________________
                                                 KEVIN H. SHARP
                                                 UNITED STATES DISTRICT JUDGE




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